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MINUTE ENTRY
BROWN, C. J.
JUNE 15, 2023
JS10 – 00:12



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                                  CRIMINAL CASE

VERSUS                                                                    NO. 21-11

CHANTELLE DAVIS                                                           SECTION: G


                                         SENTENCING

Court Reporter:       Nichelle Wheeler
Case Manager:         Morgan Palmer
Law Clerk:            Shao Zhao


PRESENT:              Chantelle Davis, Defendant
                      Valerie Welz Jusselin, Counsel for Defendant
                      Andre Lagarde, Assistant U.S. Attorney
                      Shalita Morgan, U.S. Probation



Case called at 10:02 a.m.
Defendant present and sentenced to count 1 of the Indictment.
Counts dismissed on motion of the United States as to this defendant: Count 5 of the Indictment.
See Judgment.
The defendant released.
Hearing completed 10:14 a.m.
